 

Case 4:10-cr-01031-FRZ-GEE Document6 Filed 05/11/16

 

T-). A ft
Peo s ice! + eee LODGED
RECEIVED COPY

 

 

 

 

AO 458 (Rev. 5/85) Appearance MAY 1 | 2010

 

 

 

 

CLERK U S DISTRICT COURT
DISTRICT OF ARIZONA
DEPUTY

UNITED STATES DISTRICT couR™

 

 

DISTRICT OF ARIZONA

APPEARANCE S FALED

CASE NUMBER: 10 WI-64 FRZ

0 jb (0 Gl -TUE AE CEE)

 

USA

vs

Jonathan Horowitz

To the Clerk of this court and all parties of record:

Enter my appearance as counsel in this case for Jonathan Horowitz.

 

5/11/2010 ASL45
Date Signature \

Kurt M Altman
Print Name

4848 FE Cactus Road Suites505-102
Address

Scottsdale, AZ 85254
City State Zip Code

602 689-5100
Phone Number

Lt: fushy ® MUTE ©
